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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF SOUTH CAROLINA
                              CASE NO. __________________


DHW PURCHASING GROUP, LLC                    )
DBA CAROLINA POUR HOUSE and                  )
DANIEL WELLS,                                )                3:19-cv-01243-CMC
                                             )
               Plaintiffs,                   )
                                             )          NOTICE OF REMOVAL
         vs.                                 )       (DIVERSITY OF CITIZENSHIP)
                                             )            28 U.S.C. § 1446(a)
KEENANSUGGS INSURANCE,                       )
ALL RISKS, LTD., and                         )
THE BURLINGTON INSURANCE                     )
COMPANY,                                     )
                                             )
               Defendants.                   )


TO:      THE HONORABLE DISTRICT COURT OF THE UNITED STATES FOR
         THE DISTRICT OF SOUTH CAROLINA


         The Defendant, The Burlington Insurance Company (“TBIC”), by and through counsel,

hereby gives notice pursuant to 28 U.S.C. §§ 1332, 1367, 1441, and 1446, that it has removed

the action entitled “DHW Purchasing Group, LLC dba Carolina Pour House and Daniel Wells v.

KeenanSuggs Insurance, All Risks, Ltd., and The Burlington Insurance Company,” filed in

the Court of Common Pleas, Richland County, South Carolina, C.A. No. 2019-CP-40-01542

(the “State Court Action”), to the United States District Court for the District of South Carolina.

A copy of this Notice of Removal is being filed with the Clerk of Court for the Court of

Common Pleas, Richland County, South Carolina, where the action is currently pending,

in order to effect removal pursuant to 28 U.S.C. § 1446(b). Pursuant to 28 U.S.C. § 1446(d),

the State Court Action shall proceed no further unless and until this case is remanded.




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                                     Grounds for Removal

         1.    This action was filed in the Court of Common Pleas, Fifth Judicial Circuit,

County of Richland, South Carolina on March 18, 2019.1 A copy of the entire contents of

the Richland County file in the State Court Action is attached hereto as Exhibit 1.

         2.    The Complaint in the State Court Action was received by TBIC, at the earliest,

on April 1, 2019. This Notice of Removal is being filed within thirty (30) days of the date that

the Complaint was received by TBIC. 28 U.S.C. §§ 1446(b).

         3.    This case is removable under 28 U.S.C. § 1332 (“Diversity of Citizenship”)

because there is complete diversity of citizenship between the Plaintiffs and the Defendants, and

the amount in controversy exceeds $75,000, exclusive of interest and costs. See Compl. ¶¶ 1–5,

32, and 36.

         4.    Plaintiff Daniel Wells is a citizen and resident of the State of South Carolina.


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  TBIC previously filed a declaratory judgment action in the U.S. District Court for the District
of South Carolina, captioned “The Burlington Insurance Company v. Daniel Halsey Wells, IV
et al.,” Case No. 3:18-cv-1351-CMC (the “TBIC Coverage Action”), seeking an adjudication
concerning the rights and obligations of the parties under a commercial policy of insurance,
policy no. 740BW37405, effective from October 23, 2016 to October 23, 2017
(the “TBIC Policy”) with respect to claims asserted against DHW Purchasing Group, LLC dba
Carolina Pour House (“DHW”) and Daniel Wells, in a civil action captioned “Ryan Chisolm v.
Daniel Halsey Wells IV, et al.,” Case No. 2017-CP-40-02512, in the Court of Common Pleas for
Richland County, SC (the “Underlying Chisolm Lawsuit”). After TBIC filed a Motion for
Judgment on the Pleadings in the TBIC Coverage Action, DHW and Wells entered into
a Stipulation of Dismissal without Prejudice in the Underlying Chisolm Lawsuit, and filed
a Motion to Dismiss the TBIC Coverage Action on the grounds that the coverage issues raised
in the TBIC Coverage Action were either moot or not ripe for adjudication because
the Underlying Chisolm Lawsuit had been dismissed. Based upon DHW and Wells’ Motion to
Dismiss, the TBIC Coverage Action was dismissed on January 9, 2019.                      Although
The Underlying Chisolm Lawsuit remains dismissed, DHW and Wells have now filed
the present action in South Carolina state court, which raises the same coverage issues previously
raised in the TBIC Coverage Action, and which DHW and Wells previously claimed were moot
or not ripe because the Underlying Chisolm Lawsuit had been dismissed. Therefore, it appears
that DHW and Wells have changed their position that a determination of the rights and
obligations of the parties under the TBIC Policy in relation to the Underlying Chisolm Lawsuit
is moot or not ripe for adjudication based upon the dismissal of the Underlying Chisolm Lawsuit.


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Compl. ¶ 2.

         5.    Plaintiff DHW Purchasing Group, LLC d/b/a Carolina Pour House (“DHW”),

is a limited liability company organized under the laws of the State of South Carolina.

Compl. ¶ 1. The principal place of business for DHW is located in Columbia, South Carolina.

The sole member and manager of DHW is Daniel Wells, who is a citizen and resident of

the State of South Carolina. Compl. ¶ 2.

         6.    TBIC is a corporation organized and existing under the laws of the State of

Illinois. The principal place of business for TBIC is located in Burlington, North Carolina.

Compl. ¶ 5.

         7.    Defendant All Risks, Ltd. (“All Risks”) is a corporation organized and existing

under the laws of the State of Maryland. Compl. ¶ 4. The principal place of business for

All Risks is located in Maryland.

         8.    Defendant KeenanSuggs Insurance (“KeenanSuggs”) as named in the Complaint

is a non-entity. Compl. ¶ 3. Rather, KeenanSuggs is a trade name for the insurance operations of

HUB International Midwest Limited (“HUB”), which is a corporation organized and existing

under the laws of the State of Illinois, with its principal place of business in the State of Indiana.

         9.    Accordingly, the Plaintiffs are citizens and residents of South Carolina; and

Defendant TBIC is a citizen and resident of Illinois and North Carolina, Defendant All Risks

is a citizen and resident of Maryland, and Defendant KeenanSuggs (to the extent properly named

as a defendant in this action) is a citizen and resident of Illinois and Indiana. Therefore,

there is complete diversity of citizenship between the Plaintiffs and the Defendants in this action.

         10.   The amount in controversy in this action exceeds the sum of $75,000, exclusive of

interest and costs, inasmuch as the Plaintiffs assert claims for Breach of Contract, Breach of




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Contract Accompanied by Fraudulent Acts, Bad Faith Refusal to Pay First-Party Benefits,

Improper Claims Practices, Negligence and Gross Negligence, and Constructive Fraud against

the Defendants and seek coverage under commercial liability insurance policies with aggregate

limits of liability of $2,000,000 for claims that have been asserted against the Plaintiffs

in underlying tort litigation.

         11.    Defendants All Risks and KeenanSuggs have consented and join in this removal

of the State Court Action to the United States District Court for the District of South Carolina.

         12.    Copies of this Notice are being served on all adverse parties and a copy hereof

is being filed with Clerk of the Richland County Court of Common Pleas, all in accordance with

the provisions of 28 U.S.C. § 1446(d).

         13.    A copy of the Notice of Filing of Notice of Removal to be filed in the Court of

Common Pleas, Fifth Judicial Circuit, County of Richland, South Carolina, is attached hereto

as Exhibit 2.

        WHEREFORE, Defendant The Burlington Insurance Company hereby removes
the State Court Action to the United States District Court for the District of South Carolina.

                This the 29th day of April, 2019.

                                            GOLDBERG SEGALLA LLP

                                            /s/ David G. Harris II
                                            David G. Harris II (S.C. Federal Bar No. 12039)
                                            David L. Brown (N.C. State Bar No. 18942)
                                            800 Green Valley Road, Suite 302
                                            Greensboro, North Carolina 27408
                                            Telephone: 336.419.4900
                                            Facsimile: 336.419.4950
                                            dharris@goldbergsegalla.com
                                            dbrown@goldbergsegalla.com
                                            Attorneys for Defendant
                                            The Burlington Insurance Company




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                                  CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a copy of the foregoing Notice of Removal
was served upon all counsel of record via first class mail, postage prepaid, addressed as follows:

                                    Michael H. Montgomery
                                MONTGOMERY WILLARD, LLC
                                      1002 Calhoun Street
                                     Post Office Box 11886
                                 Columbia, South Carolina 29201
                                    Telephone: 803.779.3500
                                 mhm@montgomerywillard.com
                                      Attorney for Plaintiffs

                                        F. Matlock Elliott
                             HAYNSWORTH SINKLER BOYD, P.A.
                                  ONE North Main, 2nd Floor
                               Greenville, South Carolina 29601
                                   Telephone: 864.240.3240
                                   melliott@hsblawfirm.com
                              Attorney for Defendant KeenanSuggs

                                        David W. Overstreet
                                          Robert C. Blain
                                 EARHART OVERSTREET LLC
                                          P.O. Box 22528
                                 Charleston, South Carolina 29413
                                     Telephone: 843.972.9400
                                robert.blain@earhartoverstreet.com
                              david.overstreet@earhartoverstreet.com
                                 Attorneys for Defendant All Risks

         This the 29th day of April, 2019.

                                             GOLDBERG SEGALLA LLP

                                             /s/ David G. Harris II
                                             David G. Harris II
                                             S.C. Federal Bar No. 12039
                                             800 Green Valley Road, Suite 302
                                             Greensboro, North Carolina 27408
                                             Telephone: 336.419.4900
                                             dharris@goldbergsegalla.com
                                             Attorney for Defendant
                                             The Burlington Insurance Company




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